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 Jon L. Norinsberg, Esq.
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                                                          January 15, 2025

 VIA ECF
 The Honorable Lorna G. Schofield
 United States District Judge
 Southern District of New York
 Thurgood Marshall
 United States Courthouse
 40 Foley Square, Room 1106
 New York, NY 10007


                           Re:    Competello v. Doobiez, LLC
                                  1:24-cv-7861 (LGS)
                                  Letter Requesting Adjournment Sine Die

Dear Judge Schofield,

        We represent the Plaintiff, Susan Competello, in the above-referenced Americans with
Disabilities Act (“ADA”) matter. With the Defendant’s consent, we write to inform Your Honor that
the parties have reached an agreement in principle. We are currently in the process of finalizing the
terms of this agreement and anticipate filing a Stipulation for Voluntary Dismissal within the next
two weeks.

         In light of this development, the Plaintiff respectfully requests that Your Honor stay all
proceedings sine die, including the scheduled Initial Pretrial Conference set for January 22, 2025, and
all related documentary requirements (Dkt. No. 8).

       Thank you for your consideration.




                                                               Respectfully submitted,
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                                                 JOSEPH & NORINSBERG, LLC

                                                     Sincerely,




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